                  Case 1:11-cr-00073-WKW-CSC Document 81 Filed 03/14/12 Page 1 of 6

AU 245B       (Rev. 09/I1) Judgment in a Criminal Case
              Sheet I



                                           UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA

              UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                   V.                                      )

                        TIMOTHY GIBSON                                            Case Number: 1:11 cr073-02-WKW

                                                                           )      USM Number: 13469-002

                                                                           )       Christine Ann Freeman
                                                                                  Defendant's Attorney
THE DEFENDANT:
  'pleaded guilty to count(s)           1 of the Indictment on 8/18/2011
U pleaded noto contendere to count(s)
                                                                                     .
  which was accepted by the court.
U was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended             Count

 21:841 (a)(1) and 18:2             Possession with Intent to Distribute Cocaine Base;                        04/13/2011                1

                                    Aiding and Abetting




U Sec additional count(s) on page 2

      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
U The defendant has been found not guilty on count(s)

U Count(s)                                                 U is   El are dismissed on the motion of the United States.

         It is ordered that the defendant mist notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           March 7, 2012
                                                                           Date of Imposition of Judgment


                                                                                                OF



                                                                                                -    -      -----     ---
                                                                           Signature of Judge


                                                                           W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                           Name of Judge                              Title of Judge




                                                                           Date
                                                                               S±4L -         2
                     Case 1:11-cr-00073-WKW-CSC Document 81 Filed 03/14/12 Page 2 of 6

AD 245B         (Rev. 09/11) Judgment in a Criminal Case
VI              Sheet 2— Imprisonment

                                                                                                                      Judgment Page: 2 of 6
     DEFENDANT: TIMOTHY GIBSON
     CASE NUMBER: 1:1 1cr073-02-WKW


                                                                  IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:

     37 Months



         Wf The court makes the following recommendations to the Bureau of Prisons:

     The Court recommends that defendant be designated to a facility where intensive drug treatment and vocational and
     educational training are available.


         El The defendant is remanded to the custody of the United States Marshal.

         El The defendant shall surrender to the United States Marshal for this district:

             El at _____________________                    am. E p.m. on

             El as notified by the United States Marshal.

             The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                  before 2:00            on                4/25/2012

             El as notified by the United States Marshal.

             El as notified by the Probation or Pretrial Services Office.



                                                                        RETURN
     I have executed this judgment as follows:




             Defendant delivered on

     a                                                      with a certified copy of this judgment.



                                                                                                         UNITED STATES MARSHAL


                                                                                By______
                                                                                                      DEPUTY UNITED STATES MARSHAL
                       Case 1:11-cr-00073-WKW-CSC Document 81 Filed 03/14/12 Page 3 of 6

AU 245B            (Rev. 09/1 t) Judgment in a Criminal Case
V1                 Sheet 3—Supervised Release

                                                                                                                         Judgment Page: 3 of 6
 DEFENDANT: TIMOTHY GIBSON
 CASE NUMBER: 1:11 cr073-2
                                                               SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:

     4 Years
          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, f applicable.)

            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
            The defendant shall cooperate in the collection of DNA as directed by the probation officer. Check, ([applicable.)

            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, e1 seq.)
     E as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
            works, is a student, or was convicted of a qualifying offense. (Check, ([applicable.)

     El The defendant shall participate in an approved program for domestic violence. (Check, ([applicable.)
             If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
     Schedule of Payments sheet of this judgment.
               The defendant must comply with the standard conditions that ha'e been adopted by this court as well as with any additional conditions
     on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)    the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;
      10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
      11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforceimnt officer;
     12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcenint agency without the
             permission of the court; and

     13)     as directed by the probation officer, the defendant shall noti' third partiesof risks that may be occasioned by the defendant's criminal
             record or ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant s compliance with such notification requirement.
               Case 1:11-cr-00073-WKW-CSC Document 81 Filed 03/14/12 Page 4 of 6

AO 245B     (Rev. 09/1 1) Judgment in a Criminal Case
vi          Sheet 3C—Supervised Release

                                                                                                         Judgment Page: 4 of 6
 DEFENDANT: TIMOTHY GIBSON
 CASE NUMBER: 1:11 cr073-2

                                           SPECIAL CONDITIONS OF SUPERVISION

  Defendant shall participate in a program approved by the United States Probation Office for substance abuse, which may
  include testing to determine whether he has reverted to the use of drugs. Defendant shall contribute to the cost of any
  treatment based on ability to pay and the availability of third-party payments.

  Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
                      Case 1:11-cr-00073-WKW-CSC Document 81 Filed 03/14/12 Page 5 of 6

AO 245B          (Rev, 09/11) Judgment in a Criminal Case
V1               Sheet 5 - Criminal Monetary Penaittes

                                                                                                                          Judgment Page: 5 of 6
     DEFENDANT: TIMOTHY GIBSON
     CASE NUMBER: 1:1 1cr073-02-WKW
                                                    CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,

                          Assessment                                           Fine                             Restitution
     TOTALS            $ 100.00                                            $                                  $ $0.00


     LI The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be entered
        after such determination.

     LI The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 u.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

     Name of Payee                                                       Total Loss*               Restitution Ordered Priority or Percentage




 TOTALS                                                                                   $0.00                   $0.00


 LI Restitution amount ordered pursuant to plea agreement $ -

 LI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f), All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 LI The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          LI the interest requirement is waived for the            LI fine LI restitution.

          LI the interest requirement for the            LI fine     LI restitution is modified as follows:



 * Findings for the total an-nunt of losses are required under Chatters 109A, 110. 1I0A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                  Case 1:11-cr-00073-WKW-CSC Document 81 Filed 03/14/12 Page 6 of 6

AO 245B       (Rev. 0911 I) Judgment in a Criminal Case
V1            Sheet 6 - Schedule of Payments

                                                                                                                              Judgment Page: 6 of 6
 DEFENDANT: TIMOTHY GIBSON
 CASE NUMBER: 1:1 1cr073-02-WKW

                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A V Lump sum payment of$ 100.00                                 due immediately, balance due

            El not later than                                         ,or
            El in accordance               El C, El D, El E, or El F below; or
 B El Payment to begin immediately (may be combined with                      El C.        El D, or El F below); or
 C    El Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    El Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    El Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.




 Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of crininal monetar y penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 El Joint and Several

      Defendant and Co-Defendant Names and Case Numbers 'including defendant number, Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 El The defendant shall pay the cost of prosecution.

 El The defendant shall pay the following court cost(s):

 El The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
